        Case
         Case1:21-cv-01812-SAG
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                  NORTHERN DIVISION


 CROWN CASTLE FIBER LLC,

                Plaintiff,
                                                 Case No.: 1:21-cv-01812
                       v.                        Consolidated and Joined with Civil Action
                                                 No. 1:21-cv-03070
 MAYOR and CITY COUNCIL of OCEAN
 CITY,

                Defendant.


           XXXXXXX ORDER GRANTING JOINT MOTION TO STAY CASES
         [PROPOSED]

       WHEREAS, Plaintiff Crown Castle Fiber LLC (“Crown Castle”) and Defendant the

Mayor and City Council of Ocean City, Maryland (the “Town”) (together the “Parties”) have

filed a Joint Motion to Stay the above consolidated cases (the “Motion”);

       Having considered the Motion and good cause having been shown, the Motion is

GRANTED, and all proceedings in Civil Action No. 1:21-cv-01812 consolidated with Civil

Action No. 1:21-cv-03070, are hereby STAYED for 120 days; and it is further ORDERED that,

when the stay concludes, the parties submit a joint proposed revised schedule, if appropriate.

       SO ORDERED this 14th day of June, 2022.




                                                               /s/
                                           The Honorable Stephanie A. Gallagher
                                           United States District Judge
